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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff(s),                         )
                                                  )
      vs.                                         )         Case No. 4:11CR330 JCH
                                                  )
RICHARD G. JOHNSON,                               )
                                                  )
            Defendant(s).                         )


                                               ORDER

       This matter is before the Court on Defendant Richard G. Johnson’s pre-trial Motion to

Suppress Evidence and Statements (ECF No. 39). Pursuant to 28 U.S.C. § 636(b), this matter was

referred to United States Magistrate Judge Nannette A. Baker, who filed a Report and

Recommendation on October 14, 2011. Neither party submitted objections to the Report and

Recommendation.

       Magistrate Judge Baker recommends that the Court deny Defendant’s motion. After de novo

review of the entire record in this matter, the Court adopts the Magistrate Judge’s recommendation.

       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of the United States

Magistrate Judge [ECF No. 64] is SUSTAINED, ADOPTED, AND INCORPORATED herein.

       IT IS FURTHER ORDERED that Defendant Richard G. Johnson’s Motion to Suppress

Evidence and Statements [ECF No. 39] is DENIED.

Dated this     15th     day of November, 2011.



                                                  /s/Jean C. Hamilton
                                                  UNITED STATES DISTRICT JUDGE
